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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS


 EDIBLE IP, LLC; and EDIBLE
 ARRANGEMENTS LLC,

           Plaintiffs,

 v.
                                                             NO: 20-cv-05840
 MC BRANDS, LLC; and GREEN THUMB
 INDUSTRIES INC.,

           Defendants.



      MC BRANDS, LLC AND GREEN THUMB INDUSTRIES INC.’S ANSWER AND
               COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

          Defendants MC Brands, LLC and Green Thumb Industries Inc. (collectively, “GTI”), by

and through its undersigned counsel of record, for its Answer to Plaintiff Edible Arrangements,

LLC and Edible IP, LLC (“Plaintiffs”) Complaint, states as follows:

                                    NATURE OF THE ACTION

          1.      This is a civil action against Defendants for federal and state trademark and

service mark infringement; federal unfair competition; Illinois common law unfair competition;

and Illinois statutory deceptive trade practices arising out of Defendants’ infringement and other

wrongdoing with respect to Edible’s federally registered EDIBLE mark and EDIBLE-formative

trademarks and service marks, which Edible has extensively and continuously used nationwide

and before Defendants to identify Edible’s fruit, confection, and other food and gift-related

goods and services throughout the United States prior to Defendants’ conduct complained of

herein.




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        Answer: GTI admits that Plaintiffs attempt to state causes of action for federal and state

trademark and service mark infringement, federal unfair competition, Illinois common law unfair

competition, and Illinois statutory deceptive trade practices. GTI denies the remaining

allegations of this paragraph. GTI denies that Plaintiffs have established any rights in the term

“edible” when used alone, with any goods or services. GTI denies that Plaintiffs have any rights

to the term “edible” in the cannabis industry, as that term has been widely used as a generic term

for cannabis-infused food for decades. GTI denies that Plaintiffs have any trademark rights in the

cannabis industry because Plaintiffs have not actually used their asserted marks in commerce in

connection with cannabis-infused edibles. In fact, GTI is the senior user of its INCREDIBLES

mark in this area of commerce, and Plaintiffs are merely trying to muscle into an entirely new

business area without actually building consumer loyalty and brand recognition.

       2.       Thereafter, and junior to Edible’s first trademark and service mark use in

commerce, Defendants began and continue to use the virtually identical mark “INCREDIBLES”

(the “INCREDIBLES Name” or the “Infringing Mark”) to promote and offer confection and

fruit-related products and services.

        Answer: Denied. Plaintiffs do not have any rights to the term “edible” in the cannabis

industry. “Edible” has been a generic term in the cannabis industry for decades. Further, GTI’s

INCREDIBLES mark is not “virtually identical” considering that the cannabis industry is

crowded with “edible”-formative marks.

       3.       This Complaint is brought pursuant to the trademark laws of the United States,

Title 15, United States Code, as well as pursuant to the unfair competition and deceptive trade

practices laws of the state of Illinois, and asserts claims for:

            •   federal trademark and service mark infringement in violation of Section 32 of the




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                Lanham Act of 1946, 15 U.S.C. § 1114;

            •   federal unfair competition, false designation of origin, and palming off in

                violation of the Lanham Act § 43(a), 15 U.S.C. § 1125(a);

            •   Illinois common law trademark and service mark infringement;

            •   Illinois common law unfair competition; and

            •   violation of Illinois Uniform Deceptive Trade Practices Act, 815 ILCS 510/2

                (Count Six).

       Answer: GTI admits that Plaintiffs attempt to state causes of action for federal trademark

and service mark infringement, federal unfair competition, false designation of origin, and

palming off, Illinois common law trademark and service mark infringement, Illinois common

law unfair competition, and violation of Illinois Uniform Deceptive Trade Practices Act. GTI

denies the remaining allegations of this paragraph.

       4.       In bringing this lawsuit, Edible seeks a judgment of damages measured by an

accounting of Defendants’ profits (i.e., the sales that Defendants have made) from its trademark

infringement, unfair competition, and deceptive trade practices, plus any additional sum as the

Court shall find to be just, which shall constitute compensation; three times any actual damages

that Edible has sustained as a result of Defendants’ unlawful actions; permanent injunctive relief

to stop Defendants’ illegal use and infringement of Edible’s EDIBLE and EDIBLE-formative

marks; punitive damages; reasonable attorney’s fees; and costs.

       Answer: GTI admits that Plaintiffs attempt to seek these things but denies the remaining

allegations of this paragraph. GTI denies that Plaintiffs are entitled to any relief, let alone the

relief set forth above. Plaintiffs are not entitled to any lost profits because the idea that any

consumer of GTI’s INCREDIBLES edibles associates GTI’s INCREDIBLES with Plaintiffs—a




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fruit basket company—is preposterous. Plaintiffs are not entitled to “three times any actual

damages” because there is no (and never will be) any evidence of willfulness. Plaintiffs have not

sustained any actual damages, and are not entitled to any punitive damages, fees or costs.

                                         THE PARTIES

       5.      Plaintiff Edible IP, LLC is a Connecticut limited liability company whose

member is Edible Brands, LLC, a Delaware Company. Edible IP’s principal place of business is

in Fulton County, Georgia at 980 Hammond Drive, Atlanta, GA 30328. Edible IP owns all of the

trademarks, service marks, trade names, common law intellectual property, and other goodwill

associated with the brand “EDIBLE.” As discussed in more detail below, Edible IP licenses this

property to Edible Arrangements LLC and other entities that conduct business using the name

EDIBLE.

       Answer: GTI is without knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph and, therefore, denies them.

       6.      Plaintiff Edible Arrangements LLC is a Delaware limited liability company with a

principal place of business at 980 Hammond Drive, Atlanta, Georgia 30328.

       Answer: GTI is without knowledge or information sufficient to form a belief as to the

truth of the allegations of this paragraph and, therefore, denies them.

       7.      On information and belief, Defendant MC Brands, LLC is a Colorado limited

liability company with its principal place of business in the state of Colorado and offices located

at 1150 W. Custer Place, Denver, CO 80223.

       Answer: GTI admits that MC Brands, LLC, is a Colorado limited liability company. GTI

denies the remaining allegations and affirmatively states that MC Brands, LLC’s principal place

of business is located at 325 W. Huron St., Suite 700, Chicago IL 60654.




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         8.     On information and belief, Defendant Green Thumb Industries, Inc. is a British

Columbia corporation with a principal place of business in the state of Illinois and offices located

at 325 W Huron St #412, Chicago, IL 60654.

         Answer: GTI admits that Green Thumb Industries Inc., is a British Columbia

corporation. GTI denies the remaining allegations and affirmatively states that Green Thumb

Industries Inc.’s principal place of business is located at 325 W. Huron St., Suite 700, Chicago IL

60654.

                                 JURISDICTION AND VENUE

         9.     This Court has original subject matter over Edible’s claims as federal questions

pursuant to Section 39 of the Lanham Act, 15 U.S.C. § 1121, and 28 U.S.C. § 1331 and 28

U.S.C. § 1338(a) and (b).

         Answer: GTI admits that, to the extent Plaintiffs state a claim under the Lanham Act, this

Court has original subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338 and 15

U.S.C. § 1121. GTI denies the remaining allegations of this paragraph.

         10.    This Court has supplemental jurisdiction over the claims for trademark

infringement, unfair competition, and deceptive trade practices that arise under the State of

Illinois statutory and common law pursuant to 28 U.S.C. § 1367(a), because they are so related to

the federal claims that they form part of the same case or controversy and derive from a common

nucleus of operative facts under Article III of the United States Constitution.

         Answer: GTI admits that, to the extent Plaintiffs state a claim under the Lanham Act,

this court has supplemental jurisdiction over the Illinois state law claims for trademark

infringement, unfair competition, and deceptive trade practices pursuant to 28 U.S.C. § 1367.

GTI denies the remaining allegations of this paragraph.




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        11.     This Court has personal jurisdiction over Edible, LLC and Edible Arrangements

LLC because, by virtue of their filing of this Complaint, they consent to this Court’s jurisdiction.

        Answer: This paragraph contains conclusions of law for which no response is required.

        12.     Defendants are subject to personal jurisdiction in this district under the Due

Process Clause of the United States Constitution and the laws of the state of Illinois because

Defendants have minimum contacts within the state of Illinois and the Northern District of

Illinois pursuant to due process. Defendant Green Thumb Industries, Inc. has a principal place of

business in this District, and together with Defendant MC Brands, LLC, Defendants make the

INCREDIBLES branded products at issue in this lawsuit available for sale in the state of Illinois

and in the Northern District of Illinois. Further, Edible’s causes of action arise directly from

Defendants’ business contacts and other activities in the state of Illinois and in the Northern

District of Illinois. More specifically, Defendants directly offer, transact businesses, and

advertise (including through the provision of web pages) their products and services in the state

of Illinois and the Northern District of Illinois where residents can and, upon information and

belief, do purchase Defendants’ goods offered and distributed under the infringing mark

“INCREDIBLES.” Thus, Defendants have committed trademark infringement, unfair

competition, and deceptive trade practices in the state of Illinois and in the Northern District of

Illinois.

        Answer: GTI denies that Plaintiffs have any cause of action or that Defendants have

committed trademark infringement, unfair competition, and deceptive trade practices in the state

of Illinois or anywhere else. Defendants admit that they have engaged in commercial activities in

the State of Illinois and in this District and are subject to personal jurisdiction in this court.




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       13.      A representative screenshot of Defendants’ websites, which reference their

business in Illinois, are as follows:




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       Answer: GTI admits that these images appear to be substantially similar to pages on

GTI’s website but denies the remaining allegations of this paragraph.

       14.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events and omissions giving rise to Edible’s claims occurred in this

District, and/or 28 U.S.C. § 1391(b)(3) because Defendants are subject to this Court’s personal

jurisdiction with respect to such action.

       Answer: Admitted.

                                   FACTUAL BACKGROUND

                                     Edible and Its Businesses

       15.     Edible Arrangements LLC is the successful franchisor of stores offering, among a

wide variety of other products, fresh cut fruit products. It is well known for its artistically

designed confectionary fresh fruit products evocative of floral designs, dipped fruit products like

chocolate dipped strawberries, and other chocolate, snack, and baked goods. These highly

regarded products are available through an extensive network of franchises located throughout

the United States and abroad, and through its website, its call center, the Internet, and a handful

of affiliate-owned stores.

       Answer: GTI is without information sufficient to admit or deny the allegations of this

paragraph and, accordingly, denies them. On information and belief, Plaintiffs are known to

consumers as a fruit basket company, and are not known to consumers for their chocolate, snack

and baked goods products. On further information and belief, Plaintiffs’ products are not “highly

regarded” among consumers.

       16.     Edible IP, LLC is the owner and licensor of, among other things, the various

trademarks, service marks, trade dress, domain names, copyrights, and other intellectual property


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used and associated with the highly-successful, widely-recognized and distinctive “Edible” brand

and business, as set forth in greater detail below. Edible IP, LLC licenses these intellectual

property assets to Edible Arrangements LLC for use and sublicensing through Edible

Arrangements LLC’s franchise system and websites.

        Answer: GTI denies that Plaintiffs’ alleged “Edible” brand is “highly-successful, widely

recognized and distinctive.” “Edible Arrangements” is a fruit basket company, and to the extent

“Edible Arrangements” is attempting to rebrand itself as “edible” in a misguided attempt to seize

control of the generic term “edible” in the cannabis industry, consumers in the cannabis industry

do not associate the generic term “edible” with Plaintiffs. Indeed, the generic term “edible” has

been used as a generic term for such a long time in the cannabis industry, consumers will likely

never associate the term “edible” with Plaintiffs. GTI is without information sufficient to admit

or deny the remaining allegations of this paragraph and, accordingly, denies them.

       17.        Tariq Farid founded Edible in what has become a famous American success story.

Mr. Farid emigrated from Pakistan when he was twelve years old. Beginning when he was only

sixteen, Mr. Farid purchased his first flower shop. Within several years he grew his business to

four locations.

        Answer: GTI is without information sufficient to admit or deny the allegations of this

paragraph and, accordingly, denies them.

       18.        Then came his entrepreneurial breakthrough: Mr. Farid developed a unique

marketing program of providing floral arrangements made from fresh cut fruit instead of flowers.

The fresh fruit is cut and sculpted to look like beautiful floral designs.

        Answer: GTI is without information sufficient to admit or deny the allegations of this

paragraph and, accordingly, denies them.




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          19.    In 1999, Mr. Farid opened the first “Edible Arrangements” store, through which

he introduced his unique cut fruit products.

          Answer: GTI is without information sufficient to admit or deny the allegations of this

paragraph and, accordingly, denies them.

          20.    The Edible brand and business grew enormously. Two years after opening his

first store, Mr. Farid introduced Edible franchises. And only three years after launching the first

franchise, Entrepreneur Magazine recognized Edible in the top 500 franchises in the United

States.

          Answer: GTI is without information sufficient to admit or deny the allegations of this

paragraph and, accordingly, denies them.

          21.    By 2006, there were 500 Edible franchises, and by 2011 there were 1,000. By

2019, there were almost 1,200 Edible stores worldwide, with more than 1,100 stores located

throughout the United States, including in the state of Illinois.

          Answer: GTI is without information sufficient to admit or deny the allegations of this

paragraph and, accordingly, denies them.

          22.    As a part of its growth, Edible has expanded its product offerings beyond

beautifully designed fruit and chocolate arrangements to include products such as dipped and

coated fruit, chocolates, baked goods, smoothies, popcorn, and assorted gifts (stuffed animals,

mugs, balloons, candles, etc.).

          Answer: GTI is without information sufficient to admit or deny the allegations of this

paragraph and, accordingly, denies them.

          23.    Edible’s success has been continuously recognized by the business media. For

example, Edible ranked 9th on the 2011 Forbes list of top “franchises to start”; was named one of




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the “Top 100 Internet Retailers” by Internet Retailer magazine; was 38th on Entrepreneur

Magazine’s 2017 Entrepreneur Franchise 500; and was ranked 3rd on Inc. Magazine’s list of top

food and beverage companies. Most recently, the Franchise Times ranked Edible number 128 in

the list of the “Top 200 Franchises.”

       Answer: GTI is without information sufficient to admit or deny the allegations of this

paragraph and, accordingly, denies them.

       24.     After over 20 years of substantial and uninterrupted use, combined with extensive

advertising and promotion, the EDIBLE brand is distinctive and well known to the public.

       Answer: Denied. The brand that Plaintiffs’ have been attempting to build for over 20

years is “Edible Arrangements,” not “Edible.” Plaintiffs’ attempt to rebrand themselves as

“Edible” is a recent development, and the general public is likely entirely unaware of this

attempted rebranding. Further, “Edible” cannot be a trademark for edible products and, in

particular, cannabis-infused edibles.

       25.     Edible’s system-wide revenue is in the hundreds of millions of annually. Edible’s

success is a direct result of its commitment to providing a consistently high-quality and

beautifully designed product and services that consumers recognize as originating from Edible,

as well as Edible’s marketing and promotion of the EDIBLE marks and brand.

       Answer: GTI denies that Plaintiffs provide “a consistently high-quality and beautifully

designed products and services” and that customers recognize the alleged “EDIBLE marks and

brand.” GTI is without information sufficient to admit or deny the allegations of this paragraph

and, accordingly, denies them.

       26.     Edible’s franchisees share in the commitment to consistently deliver high-quality

confectionary and other products that are instantly recognizable as an Edible product offered




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under the EDIBLE Marks and brand, and which are offered in brick and mortar stores and online

through Edible’s various domains including www.ediblearrangements.com and

www.edible.com.

       Answer: GTI denies that Plaintiff or its franchisees “deliver high-quality confectionary

and other products” and that customers recognize any products or services to be part of alleged

“EDIBLE Marks and brand.” GTI is without information sufficient to admit or deny the

remaining allegations of this paragraph and, accordingly, denies them.

       27.     Any consumer misperception or confusion as to the affiliation of Edible or its

EDIBLE branded products and services with competitors or their products and services will

irreparably damage Edible’s valuable brand and goodwill, as well as that of the franchisees, who

devote significant personal resources to running their shops.

       Answer: Denied. On information and belief, no confusion exists between GTI’s

INCREDIBLES edibles and Plaintiffs’ “Edible Arrangements” brand or even their new

attempted “edible” brand. On further information and belief, Plaintiffs have not actually used the

mark “edible” in the cannabis industry, and consumers in the cannabis industry do not associate

the term “edible” with Plaintiffs.

                              Edible’s Intellectual Property Rights

       28.     Edible’s business is predicated on the high quality of its fruit, confection, and

other food and gift-related goods and services and the trademarks and service marks that

designate those goods and services.

       Answer: Denied. At the time of this filing, a basic Google search for “Edible

Arrangements Reviews” reveals that the alleged “high quality” of Plaintiffs’ products are widely

panned. Consumers complain regarding missed deliveries, poor customer service, the taste of the




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fruit and chocolate, and the high price of the goods. Many of the Edible Arrangements locations

in the Chicago area have a three-star rating or less on Yelp. The website mashed.com ran an

article titled “You won’t want to order Edible Arrangements after reading this” in July, 2020.

Edible Arrangements has an average rating of one star on resellerratings.com, where over one

hundred one-star reviews have bene posted by consumers. Edible Arrangements has an average

rating of 1.5 stars on trustpilot.com, where 75% of 114 reviews rate Edible Arrangements as

“Bad.”

         29.    By marketing and promoting the “EDIBLE” brand identifiers aggressively in

connection with its hugely popular products and services, Edible has created a stable of

extremely well-known marks that the public uses to identify and distinguish Edible’s goods and

services in the marketplace.

         Answer: Denied. To the extent consumers recognize any of Plaintiffs’ brands or

registered marks, they would recognize the “Edible Arrangements” brand. Consumers do not

recognize Plaintiffs as being a source for all things “edible,” especially in the cannabis industry,

where Plaintiffs are unlicensed and have no trademark rights.

         30.    Edible first obtained a United States Trademark and Service Mark Registration

for EDIBLE ARRANGEMENTS® (Reg. No. 2,356,362) in Class 29 on the Principal Register on

June 6, 2000 with a first use and first use in commerce date of October 1998. Edible has used

that mark continuously and exclusively for over 20 years, long ago achieving incontestability

pursuant to 15 U.S.C. § 1065.

         Answer: GTI admits that USPTO records show that Plaintiffs registered the trademark

described in this paragraph. GTI is without information sufficient to admit or deny the

remaining allegations of this paragraph and, accordingly, denies them.




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       31.       Edible also owns United States Trademark Registration No. 4,319,940 for

EDIBLE® in Classes 29, 30, 32, and 35, having a date of first use of 1999. The United States

Patent and Trademark Office (“USPTO”) registered the EDIBLE® mark on the Principal Register

in 2012 pursuant to 15 U.S.C. § 1052(f). The registration is now incontestable pursuant to 15

U.S.C. § 1065.

       Answer: GTI admits that USPTO records show that Plaintiffs registered the trademark

described in this paragraph. GTI denies Plaintiffs own any protectable rights in that trademark.

GTI is without information sufficient to admit or deny the remaining allegations of this

paragraph and, accordingly, denies them.

       32.       Edible is also the owner of numerous other federal registrations on the Principal

Register for EDIBLE (stand-alone) and EDIBLE-formative marks in which the USPTO has

found that Edible acquired distinctiveness in the “EDIBLE” portion of the marks, including, but

not limited to, Registration No. 5,614,310 for EDIBLE; Registration No. 5,513,739 for EDIBLE

and Design; Registration Nos. 4,328,107, 3,844,160, and 2,934,715 for EDIBLE

ARRANGEMENTS; and Registration No. 5,286,720 for EDIBLE ARRANGEMENTS and

Design.

       Answer: GTI admits that USPTO records show that Plaintiffs registered the trademark

registrations listed in this paragraph. GTI denies Plaintiffs own any protectable rights in these

trademarks. GTI is without information sufficient to admit or deny the remaining allegations of

this paragraph and, accordingly, denies them.

       33.       The aforementioned Edible registrations (collectively, the “EDIBLE Marks”) are

summarized along with their dates of application, registration, first use, and incontestability

status on the table immediately below:




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Mark/Type                  Application Date App. No./          International
(an asterisk next to a     (F)/             Reg. No.           Trademark Class/Date
mark indicates             Registration                        of First Use (1st
incontestability)          Date (R)                            U)/Date of First Use in
                                                               Commerce (1st UC)
EDIBLE*                    F: 04/10/2012        RN: 4319940    (Int'l Class: 29)
                           R: 04/16/2013        SN: 85593869   1st U: 01/01/1999
[Trademark/Service Mark]                                       1st UIC: 01/01/1999

                                                               (Int'l Class: 30)
                                                               1st U: 01/01/1999
                                                               1st UIC: 01/01/1999

                                                               (Int'l Class: 32)
                                                               1st U: 04/01/2006
                                                               1st UIC: 04/01/2006

                                                               (Int'l Class: 35)
                                                               1st U: 01/01/1999
                                                               1st UIC: 01/01/1999

EDIBLE                     F: 11/17/2016        RN: 5614310    (Int'l Class: 29)
                           R: 11/27/2018        SN: 87240682   1st U: 00/00/2000
[Trademark]                                                    1st UIC: 00/00/2000

                                                               (Int'l Class: 30)
                                                               1st U: 00/00/2000
                                                               1st UIC: 00/00/2000


EDIBLE and Design          F: 12/19/2017        RN: 5513739    (Int'l Class: 29)
                           R: 07/10/2018        SN: 87726591   1st U: 11/00/2017
                                                               1st UIC: 11/00/2017
[Trademark/Service Mark]
                                                               (Int'l Class: 30)
                                                               1st U: 11/00/2017
                                                               1st UIC: 11/00/2017

                                                               (Int'l Class: 35)
                                                               1st U: 11/00/2017
                                                               1st UIC: 11/00/2017




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Mark/Type                  Application Date App. No./          International
(an asterisk next to a     (F)/             Reg. No.           Trademark Class/Date
mark indicates             Registration                        of First Use (1st
incontestability)          Date (R)                            U)/Date of First Use in
                                                               Commerce (1st UC)
EDIBLE                     F: 09/07/2012        RN: 4328107    (Int'l Class: 21)
ARRANGEMENTS*              R: 04/30/2013        SN: 85723499   1st U: 01/01/2007
                                                               1st UIC: 01/01/2007
[Trademark]
                                                               (Int'l Class: 28)
                                                               1st U: 01/01/2007
                                                               1st UIC: 01/01/2007

EDIBLE                     F: 10/29/2009        RN: 3844160    (Int'l Class: 29)
ARRANGEMENTS*              R: 09/07/2010        SN: 77860061   1st U: 10/00/1998
                                                               1st UIC: 10/00/1998
[Trademark/Service Mark]
                                                               (Int'l Class: 30)
                                                               1st U: 10/30/1998
                                                               1st UIC: 10/30/1998

                                                               (Int'l Class: 32)
                                                               1st U: 05/12/2005
                                                               1st UIC: 05/12/2005

                                                               (Int'l Class: 35)
                                                               1st U: 10/31/1998
                                                               1st UIC: 10/31/1998

EDIBLE                     F: 05/13/2003        RN: 2934715    (Int'l Class: 31)
ARRANGEMENTS*              R: 03/22/2005        SN: 78249281   1st U: 10/31/1998
                                                               1st UIC: 10/31/1998
[Trademark]




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 Mark/Type                     Application Date App. No./                 International
 (an asterisk next to a        (F)/             Reg. No.                  Trademark Class/Date
 mark indicates                Registration                               of First Use (1st
 incontestability)             Date (R)                                   U)/Date of First Use in
                                                                          Commerce (1st UC)
 EDIBLE                        F: 04/21/2015             RN: 5286720      (Int'l Class: 29)
 ARRANGEMENTS and              R: 09/12/2017             SN: 86605003     1st U: 01/00/2016
 Design                                                                   1st UIC: 01/00/2016

                                                                          (Int'l Class: 30)
                                                                          1st U: 01/00/2016
                                                                          1st UIC: 01/00/2016
 [Trademark/Service Mark]
                                                                          (Int'l Class: 32)
                                                                          1st U: 01/00/2016
                                                                          1st UIC: 01/00/2016

                                                                          (Int'l Class: 35)
                                                                          1st U: 01/00/2016
                                                                          1st UIC: 01/00/2016

       Answer: GTI admits that USPTO records show that Plaintiffs registered the trademarks

listed above. GTI denies Plaintiffs own any protectable rights in the trademarks listed in

Paragraph 33. GTI is without information sufficient to admit or deny the remaining allegations of

this paragraph and, accordingly, denies them.

       34.     Each of the registrations for the EDIBLE Marks are enforceable, valid,

unrevoked, and subsisting.

       Answer: Denied. Plaintiffs do not have any valid rights to the term “Edible,” used alone,

in any industry, let alone the cannabis industry.

       35.     In addition, of the registrations pleaded in the table in paragraph 33 above, those

that are highlighted with an asterisk have been in consistent use for five or more consecutive

years since registration are “incontestable” under Section 15 of the Lanham Act, 15 U.S.C. §

1065, and therefore constitute conclusive evidence of (i) the registration of the marks; (ii) the



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validity of the marks; (iii) Edible’s ownership of the marks; and (iv) Edible’s exclusive right to

use the marks in commerce in connection with the identified services, as provided by Section

33(b) of the Lanham Act, 15 U.S.C. § 1115(b).

       Answer: Denied.

       36.      Furthermore, an incontestable mark may not be challenged as merely descriptive.

15 U.S.C. §§ 1065, 1115(b).

       Answer: This paragraph contains conclusions of law for which no response is required.

       37.      Edible also owns nationwide common law rights to the EDIBLE Marks based on

the continuous and extensive bona fide use of the marks by Edible in interstate commerce

throughout the United States to promote Edible’s goods and services over the past twenty years.

       Answer: Denied.

       38.      Edible has continuously used, advertised, and promoted the EDIBLE Marks

throughout the United States and world for many years in connection with genuine Edible goods

and services.

       Answer: Denied.

       39.      Over the last twenty years, Edible has spent millions of dollars and has expended

significant effort in promoting genuine Edible goods and services under the EDIBLE Marks.

       Answer: Denied. While Plaintiffs have no doubt invested in their “Edible

Arrangements” brand, Plaintiffs do not appear to have invested significantly in the mark

“Edible” alone, and do not appear to have invested in the mark “Edible” in the cannabis industry.

       40.      Edible actively enforces its rights in the EDIBLE Marks against third parties.

       Answer: GTI is without information sufficient to admit or deny the allegations of this

paragraph and, accordingly, denies them.




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       41.         The EDIBLE Marks serve as the banner of quality that identify and distinguish

Edible’s goods and services from those of others in the marketplace and indicate the source of

Edible’s products and services.

       Answer: Denied.

       42.         The EDIBLE Marks are widely recognized by the general consuming public as

identifying Edible and its products and services.

       Answer: Denied. On information and belief, while the consuming public might

recognize “Edible Arrangements,” the consuming public does not associate the term “edible”

with Plaintiffs.

       43.         The USPTO has found that Edible has proven that EDIBLE has acquired

secondary meaning pursuant to Section 2(f) of the Lanham Act, 15 U.S.C. § 1052(f).

       Answer: Denied. The USPTO’s determinations on secondary meaning are based on the

assumption that use over time leads to secondary meaning; the USPTO does not assess actual

consumer recognition, and the USPTO’s administrative proceedings are not evidence of

secondary meaning.

       44.         Edible’s branding is widely suffused with references to and displays of these well-

known marks.

       Answer: Denied.

       45.         The EDIBLE Marks are used to reinforce consumer perception that all the goods

and services through Edible and its franchisees’ stores emanate from Edible.

       Answer: Denied.

       46.         The cumulative effect of this comprehensive promotion of the EDIBLE Marks is

that consumers—whether purchasers, shoppers, recipients, or even viewers of advertising or




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refrigerated delivery vehicles—are constantly informed that the EDIBLE Marks designate the

source of the Edible products and services that circulate regularly throughout United States

commerce.

        Answer: Denied.

        47.    By virtue of this extensive usage in connection with so many highly-regarded

products and services, the EDIBLE Marks have become widely known to the general consuming

public of the United States, has acquired significant secondary meaning, and represent goodwill

of enormous value to Edible.

        Answer: GTI denies that Plaintiffs product and services are “highly-regarded” and that

the alleged Edible Marks have “become widely known to the general consuming public of the

United States, has acquired significant secondary meaning.” GTI is without information

sufficient to admit or deny the remaining allegations of this paragraph and, accordingly, denies

them.

        48.    In addition to the previously mentioned registrations, Edible is the owner of

numerous pending U.S. trademark and service mark applications for EDIBLE and EDIBLE

formative marks, including, but not limited to

               a.    Application Serial No. 87113430 for EDIBLE SIGNATURE

                     CHOCOLATE (filed July 22, 2016);

               b.    Application Serial No. 87188299 for EDIBLE GOURMET (filed

                     September 29, 2016) relating to fruit-based products, confections and gifts;

               c.    Application Serial No. 87726646 (filed December 19, 2017) for the

                     EDIBLE and Logo Mark relating to, inter alia, cookies, bakery goods,




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                      brownies, desserts, stationery, fruit-based snack foods, and on-line and

                      retail store services in the field of food gift products;

               d.     Application Serial No. 87833917 for EDIBLE TREATS (filed March 14,

                      2018) relating to products including chocolates, confections, candy, fruit,

                      and baked goods; and

               e.     Application Serial No. 88550549 for EDIBLE (filed July 30, 2019) relating

                      to products including gummy candies, mints, candy, confections, and

                      chocolate.

       Answer: GTI admits that USPTO records show that Plaintiffs filed the trademark

applications listed in paragraph 48. GTI denies that Plaintiffs own any protectable rights in the

purported trademarks listed in paragraph 48. GTI is without information sufficient to admit or

deny the remaining allegations of this paragraph and, accordingly, denies them.

       49.     Edible also owns United States Trademark Registration No. 5,950,393 for

INCREDIBLE EDIBLE in Class 29, with a filing date of October 9, 2015 (the “INCREDIBLE

EDIBLE Mark”).

       Answer: GTI admits that USPTO records show that Plaintiffs registered the trademark

listed in paragraph 49. GTI denies that Plaintiffs own any protectable rights in the trademark

listed in paragraph 49. GTI is without information sufficient to admit or deny the remaining

allegations of this paragraph and, accordingly, denies them.

       50.     In addition to the INCREDIBLE EDIBLE Mark registration, Edible is the owner

of numerous pending U.S. trademark and service mark applications for INCREDIBLE

EDIBLE(S) and INCREDIBLE-formative marks, including, but not limited to:




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               a.     Application Serial No. 86782900 for INCREDIBLE (filed October 9, 2015)

                      in Class 29; and

               b.     Application Serial No. 86503512 for INCREDIBLE EDIBLES (filed

                      January 14, 2015) in Class 29.

       Answer: GTI admits that USPTO records show that Plaintiffs filed the trademark

applications listed in paragraph 50. GTI denies that Plaintiffs own any protectable rights in the

trademarks listed in paragraph 50. GTI is without information sufficient to admit or deny the

remaining allegations of this paragraph and, accordingly, denies them.

       51.     Edible believes and alleges that Defendants have infringed on Edible’s

trademarks, engaged in unfair competition, and committed deceptive trade practices for each of

the marks asserted in this litigation against Defendants, namely, the EDIBLE Marks and

INCREDIBLE EDIBLE Mark.

       Answer: Denied. On information and belief, Plaintiffs do not genuinely believe that

GTI’s INCREDIBLES brand, a play on the commonly-used term “edibles” in the cannabis

industry, has confused even a single consumer, or has harmed Plaintiffs in any way.

                           Defendants and the INCREDIBLES Brand

       52.     On information and belief, Defendant MC Brands, LLC is an intellectual property

holding company that purports to own the brand name INCREDIBLES, under which Defendants,

in conjunction with various licensees and manufacturers, distribute cannabis products.

       Answer: GTI denies that MC Brands, LLC manufactures or distributes cannabis

products. Otherwise, admitted.




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       53.     On information and belief, Defendant Green Thumb Industries, Inc., a Chicago

based national cannabis consumer packaged goods company and retailer, is Defendant MC

Brands LLC’s parent company.

       Answer: GTI admits that Defendant Green Thumb Industries Inc. is Chicago-based and

that Defendant MC Brands LLC is a wholly owned subsidiary. GTI denies the remaining

allegations of this paragraph.

       54.     According to the INCREDIBLES brand website <www.iloveincredibles.com>,

Defendants offer chocolates, gummies, and other candy products that contain cannabis; namely,

the psychoactive constituent tetrahydrocannabinol, commonly referred to as “THC.”

       Answer: GTI admits that it offers chocolates, gummies and other candy products that

contain cannabis, which include tetrahydrocannabinol, commonly referred to as “THC” under its

INCREDIBLES brand. GTI denies the remaining allegations of this paragraph.

       55.     The Controlled Substances Act (“CSA”) makes it unlawful under federal law to

manufacture, distribute, dispense, or possess a controlled substance, of which cannabis is one.

       Answer: This paragraph contains conclusions of law for which no response is required.

       56.     Regardless of state law, federal law provides no exception to the above-referenced

provisions for cannabis intended for “medical use.”

       Answer: This paragraph contains conclusions of law for which no response is required.

       57.     In order to establish trademark priority rights, a mark must be used in lawful

commerce.

       Answer: This paragraph contains conclusions of law for which no response is required.

       58.     At least because Defendants purport to use the INCREDIBLES name to identify

cannabis products, Defendants have not made actual use in commerce of the INCREDIBLES




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name to establish trademark ownership priority over Edible under the Lanham Act and has no

trademark rights. Defendants’ use of INCREDIBLES also began well after Edible’s use of the

EDIBLE and EDIBLE ARRANGEMENTS Marks.

       Answer: This paragraph contains conclusions of law for which no response is required.

However, to the extent the legal conclusion above is correct, then Plaintiffs also have no legal

rights in the cannabis industry. GTI is without information sufficient to admit or deny whether

Plaintiffs used “EDIBLE” as a mark prior to GTI’s and its licensees’ use of INCREDIBLES and,

accordingly, denies those allegations.

       59.     Defendants’ use of the INCREDIBLES name is strikingly similar to Edible’s

EDIBLE Marks. Representative side-by-side images of the parties’ stylized logo treatments are

as follows:




      Answer: Denied. The logos above are not “strikingly similar,” as the only similarity is the

use of the word “edible,” which has been in common use in the cannabis industry for decades.


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       60.     As shown above, Defendants’ INCREDIBLES logo, in lower case with uniform

spacing between the letters and a bold primary color to emphasize the “edible” component of the

name, is confusingly similar to Edible’s EDIBLE logo.

       Answer: Denied.

       61.     Even with respect to the EDIBLE ARRANGEMENTS Mark, the primary

emphasis and strongest visual impression is the EDIBLE component, which Edible has, for over

20 years, styled in a significantly larger font than the ARRANGEMENTS component,

contributing to a likelihood of confusion between the EDIBLE ARRANGEMENTS Mark and

Defendants’ INCREDIBLES name.

       Answer: Denied.

       62.     Defendants’ INCREDIBLES name is also wholly inclusive of Edible’s EDIBLE

Mark and the primary component of the EDIBLE ARRANGEMENTS Mark, furthering the

likelihood of confusion between them.

       Answer: Denied.

       63.     Defendants’ INCREDIBLES name is also an immaterially rearranged/combined,

nearly identical mark to Edible’s INCREDIBLE EDIBLE Mark, including the INCREDIBLE

EDIBLE Mark in its entirety, further creating a likelihood of confusion between the two.

       Answer: Denied.

       64.     To the extent Defendants’ INCREDIBLES name can be said to include the

“plural” of the EDIBLE and INCREDIBLE EDIBLE Marks, legally, the plural of a trademark is

materially indistinguishable from the singular such that it does not reduce the likelihood of

confusion between the parties’ marks.




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       Answer: To the extent the allegations of this paragraph purport to state a legal

conclusion, no response is required. To the extent a response is deemed to be required, denied.

       65.     Defendants’ goods sold in connection with the INCREDIBLES name are also

strongly related to and overlapping Edible’s goods sold in connection with the EDIBLE and

INCREDIBLE EDIBLE Marks.

       Answer: Denied. Cannabis-infused edibles are not strongly related to fruit baskets.

       66.     For example, Edible has used the EDIBLE and INCREDIBLE EDIBLE Marks to

sell chocolate and fruit products, including its signature chocolate-dipped strawberries.

Defendants use the INCREDIBLES name to sell chocolate and fruit products, including a

“chocolatey strawberries” product, among other fruit-related products that reference green

apples, peaches, and watermelons, cherries, etc., some of which are also regularly included in

Edible’s products.

       Answer: Denied. Cannabis-infused edibles are a distinct channel of trade and commerce

and consumers do not confuse cannabis-infused edibles with ordinary confections.

       67.     To the extent Defendants’ products sold in connection with the INCREDIBLES

name are cannabis-related, that fact does not negate the likelihood of confusion, including at

least because cannabis-related products are within the zone of Edible’s natural expansion, as

evidenced by Edible’s expansion in-fact to sell Cannabidiol (“CBD”) products in EDIBLE retail

locations.

       Answer: To the extent the allegations of this paragraph purport to state a legal

conclusion, no response is required. To the extent a response is deemed to be required, GTI

denies the allegations of this paragraph. GTI further denies that Plaintiffs have any trademark




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rights in association with CBD-based products, insofar as the Food and Drug Administration has

not approved CBD for general human consumption.

       68.      CBD is a non-psychoactive concentrated liquid extract of “hemp”, which is any

part or derivative of the Cannabis sativa L. plant containing less than 0.3 percent THC by weight.

The 2018 Farm Bill federal legislation legalized hemp and removed its Drug Enforcement

Administration (“DEA”) Schedule I controlled substance designation.

       Answer: The allegations of this paragraph state a legal conclusion, and no response is

required.

                                       COUNT ONE
                          Infringement of the Federally Registered
                      Asserted EDIBLE Trademarks and Service Marks
                             (Pursuant to 15 U.S.C. § 1114(1)(a))

       70.      Edible re-alleges and incorporates the preceding paragraphs 1 to 69.

       Answer: GTI incorporates by reference its responses to paragraphs 1 to 69 as if fully set

forth herein.

       71.      Edible owns each of the EDIBLE and INCREDIBLE EDIBLE Marks identified

above in paragraphs 32 and 49 that are covered by registrations on the Principal Register of the

U.S. Patent and Trademark Office and are entitled to protection.

       Answer: GTI is without information sufficient to admit or deny the allegations of this

paragraph and, accordingly, denies same.

       72.      Edible is the senior user of the EDIBLE and INCREDIBLE EDIBLE Marks as

compared to Defendants’ unapproved, federally illegal use of the INCREDIBLES name.

       Answer: Denied.

       73.      By virtue of Edible’s federally registered EDIBLE and INCREDIBLE EDIBLE

Marks, Edible enjoys constructive nationwide priority in those marks and is presumed to have



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started using the marks as of their respective filing dates, which are set forth in paragraphs 32

and 49 above.

       Answer: Denied.

       74.      Because Edible owns a federal registration in each of the EDIBLE and

INCREDIBLE EDIBLE Marks, Defendants are deemed to have knowledge of the registration

and of the rights claimed in the registration, and because of this constructive notice, Defendants

cannot claim that they adopted and/or have used the infringing INCREDIBLES name without

knowledge of the EDIBLE and INCREDIBLE EDIBLE Marks.

       Answer: Denied.

       75.      Despite Edible’s well-known prior rights in the EDIBLE Marks and use and

registration of the INCREDIBLE EDIBLE Mark, Defendants have, without Edible’s

authorization or consent, used and continues to use in the United States and this judicial district,

Edible’s federally-registered EDIBLE and INCREDIBLE EDIBLE Marks, or reproductions,

copies, and colorable imitations thereof, in connection with the sale, offering for sale,

distribution, and/or advertising of Defendants’ goods and services, including Defendants’ use of

the name INCREDIBLES in connection with the promotion and offer of confectionary fruit and

chocolate goods or services that are closely-related to Edible’s goods and within Edible’s natural

zone of related-goods expansion, in a manner that infringes upon the EDIBLE and

INCREDIBLE EDIBLE Marks and is likely to cause confusion, mistake, and deception as to the

source, affiliation, approval or sponsorship of the goods and services, leading the consuming

public to believe that Defendants’ goods and services, and the goods and services advertised and

promoted by Defendants, are the goods and services of Edible, or are sourced or originate from,

or are affiliated, approved, or sponsored by, or are in some way connected with Edible.




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       Answer: Denied. Given the steep barriers to entry in the cannabis industry, including the

requirement for a licenses in order to operate, stringent regulatory environment, and unique tax

regime, edibles are not within Plaintiff’s reasonable zone of expansion.

       76.     Defendants’ actions constitute willful infringement of Edible’s exclusive rights in

the EDIBLE and INCREDIBLE EDIBLE Marks in violation of 15 U.S.C. § 1114.

       Answer: Denied.

       77.     Defendants’ use of the EDIBLE and INCREDIBLE EDIBLE Marks, copies,

reproductions, or colorable imitations thereof, has been and continues to be done with the intent

to cause confusion, mistake, and to deceive consumers concerning the source and/or sponsorship

of Defendants’ goods and services.

       Answer: Denied.

       78.     Edible has no adequate remedy at law that will compensate for the continued and

irreparable harm it will suffer if Defendants’ conduct is allowed to continue.

       Answer: Denied.

       79.     As a direct and proximate result of Defendants’ previously alleged conduct,

Edible and the public have suffered irreparable harm that is not remedied by money damages.

Unless Defendants are permanently enjoined from further infringement of the EDIBLE and

INCREDIBLE EDIBLE Marks, Edible will continue to be irreparably harmed.

       Answer: Denied.

       80.     As a result of Defendants’ acts, Edible has sustained actual damages to its

business, marks, goodwill, and reputation proximately resulting from Defendants’ wrongful acts

and is entitled to recover three times the amount of its actual damages in an amount to be proven

at trial pursuant to 15 U.S.C. § 1117.




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          Answer: Denied.

          81.    In addition to Edible’s actual damages, pursuant to 15 U.S.C. § 1117, Edible is

also entitled to an award based on an accounting of Defendants’ profits measured by Defendants’

sales because Defendants’ conduct was willful and deliberate, Defendants were unjustly

enriched, and an award of Defendants’ profits is necessary to deter Defendants’ future conduct.

          Answer: Denied.

          82.    As this is an exceptional case, Defendants’ acts have been knowing, intentional,

wanton, and willful, and Edible is further entitled to enhanced damages and reasonable

attorney’s fees incurred in this action pursuant to 15 U.S.C. § 1117.

          Answer: Denied.

          83.    Pursuant to 15 U.S.C. § 1117, Edible is also entitled to its costs incurred in this

action.

          Answer: Denied.

                                       COUNT TWO
          Federal Unfair Competition and False Designation of Origin or Sponsorship
                             (Pursuant to 15 U.S.C. § 1125(a))

          84.    Edible re-alleges and incorporates the preceding paragraphs 1 to 83.

          Answer: GTI incorporates by reference its responses to paragraphs 1 to 83 as if fully set

forth herein.

          85.    Edible is the owner of all rights and title to and has valid and protectable prior

rights to the EDIBLE Marks.

          Answer: Denied.

          86.    Edible is the senior user of the EDIBLE and INCREDIBLE EDIBLE Marks as

compared to Defendants’ unapproved, federally illegal use of the INCREDIBLES name.




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        Answer: Denied.

        87.     By virtue of Edible’s federally registered EDIBLE and INCREDIBLE EDIBLE

Marks, Edible enjoys constructive nationwide priority in those marks and is presumed to have

started using the marks as of their respective filing dates, which are set forth in paragraphs 32

and 49 above.

        Answer: Denied.

        88.     Because Edible owns a federal registration in each of the EDIBLE and

INCREDIBLE EDIBLE Marks, Defendants are deemed to have knowledge of the registration

and of the rights claimed in the registration, and because of this constructive notice, Defendants

cannot claim that they adopted and/or have used the infringing INCREDIBLES name without

knowledge of the EDIBLE and INCREDIBLE EDIBLE Marks.

        Answer: Denied.

        89.     By its acts alleged previously, Defendants have engaged, and are engaged, in

federal unfair competition, false designation of origin, and palming off to willfully

misappropriate and trade off the goodwill associated with the EDIBLE and INCREDIBLE

EDIBLE Marks in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a), causing

irreparable injury to Edible and the public.

        Answer: Denied.

90.     Defendants have knowingly used, and continues to use, in U.S. commerce the asserted

EDIBLE and INCREDIBLE EDIBLE Marks, or counterfeits, reproductions, copies, or colorable

imitations thereof, in connection with the confectionary goods that Defendants advertise,

promote, and offer.

        Answer: Denied.




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       91.     Defendants’ unauthorized use of the EDIBLE and INCREDIBLE EDIBLE Marks

as alleged above is likely to confuse, mislead, or deceive customers, purchasers, and members of

the general public as to the origin, source, sponsorship, or affiliation of Defendants and Edible

and/or Defendants’ goods and services and Edible’s goods and services.

       Answer: Denied.

       92.     Further, Defendants’ unauthorized use of the EDIBLE and INCREDIBLE

EDIBLE Marks as alleged above is likely to cause such people to believe in error that

Defendants’ goods and services have been authorized, sponsored, approved, endorsed, or

licenses by Edible or that Defendants are in some way affiliated with Edible.

       Answer: Denied.

       93.     Edible has no adequate remedy at law that will compensate it for the continued

and irreparable harm it will suffer if Defendants’ conduct is allowed to continue.

       Answer: Denied.

       94.     As a direct and proximate result of Defendants’ conduct, Edible has suffered

irreparable harm to the valuable EDIBLE and INCREDIBLE EDIBLE Marks. Unless

Defendants are permanently restrained from further infringement of the EDIBLE and

INCREDIBLE EDIBLE Marks, Edible will continue to be irreparably harmed.

       Answer: Denied.

       95.     As a result of Defendants’ acts, Edible has sustained actual damages to its

business, marks, goodwill, and reputation proximately resulting from Defendants’ wrongful acts

and is entitled to recover three times the amount of its actual damages in an amount to be proven

at trial pursuant to 15 U.S.C. § 1117.

       Answer: Denied.




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          96.     In addition to Edible’s actual damages, pursuant to 15 U.S.C. § 1117, Edible is

also entitled to an award based on an accounting of Defendants’ profits measured by Defendants’

sales because Defendants’ conduct was willful and deliberate, Defendants were unjustly

enriched, and an award of Defendants’ profits is necessary to deter Defendants’ future conduct.

          Answer: Denied.

          97.     As this is an exceptional case, Defendants’ acts have been knowing, intentional,

wanton, and willful, and Edible is further entitled to enhanced damages and reasonable

attorney’s fees incurred in this action pursuant to 15 U.S.C. § 1117.

          Answer: Denied.

          98.     Pursuant to 15 U.S.C. § 1117, Edible is also entitled to its costs incurred in this

action.

          Answer: Denied.

                                       COUNT THREE
                 Illinois Common Law Trademark and Service Mark Infringement

          99.     Edible realleges and incorporates the preceding paragraphs 1 to 98.

          Answer: GTI incorporates by reference its responses to paragraphs 1 to 98 as if fully set

forth herein.

          100.    This Court has original jurisdiction over this pendent claim pursuant to 28 U.S.C.

§ 1338(b) and supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

          Answer: To the extent the allegations of this paragraph purport to state a legal

conclusion, no response is required. To the extent a response is deemed required, GTI denies the

remaining allegations of this paragraph.

          101.    By its acts mentioned previously, Defendants have engaged, and are engaged, in

common law trademark and service mark infringement of the EDIBLE and INCREDIBLE



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EDIBLE Marks under Illinois law through Defendants’ promotion, advertising, and marketing,

and offer of overlapping confectionary goods.

       Answer: Denied.

       102.     Edible has suffered injury-in-fact and/or actual damages caused by Defendants’

common law trademark infringement and service mark infringement.

       Answer: Denied.

       103.     Edible seeks Defendants’ ill-gotten gains measured by the profits of Defendants’

wrongdoing.

       Answer: Denied.

       104.     Edible also seeks reasonable attorney’s fees and costs.

       Answer: Denied.

                                       COUNT FOUR
                           Illinois Common Law Unfair Competition

       105.     Edible re-alleges and incorporates the preceding paragraphs 1 to 104.

       Answer: GTI incorporates by reference its responses to paragraphs 1 to 104 as if fully set

forth herein.

       106.     This Court has original jurisdiction over this pendent claim pursuant to 28 U.S.C.

§ 1338(b) and supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

       Answer: To the extent the allegations of this paragraph purport to state a legal

conclusion, no response is required. To the extent a response is deemed required, GTI denies the

remaining allegations of this paragraph.

       107.     By its acts aforesaid, Defendants have engaged, and are engaged, in common law

unfair competition under Illinois law.

       Answer: Denied.



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                                       COUNT FIVE
  Violation of the Illinois Uniform Deceptive Trade Practices Act (815 ILCS § 510, et seq.)

       108.     Edible re-alleges and incorporates the preceding paragraphs 1 to 107.

       Answer: GTI incorporates by reference its responses to paragraphs 1 to 107 as if fully set

forth herein.

       109.     This Court has original jurisdiction over this pendent claim pursuant to 28 U.S.C.

§ 1338(b) and supplemental jurisdiction pursuant to 28 U.S.C. § 1367.

       Answer: To the extent the allegations of this paragraph purport to state a legal

conclusion, no response is required. To the extent a response is deemed required, GTI denies the

remaining allegations of this paragraph.

       110.     The Illinois Uniform Deceptive Trade Practices Act 815 ILCS § 510, et seq.

prohibits deceptive trade practices, which include passing off goods or services as those of

another, causing likelihood of confusion or of misunderstanding as to the source, sponsorship,

approval, or certification of goods or services; causing likelihood of confusion or of

misunderstanding as to affiliation, connection, or association with another; and engaging in any

other conduct which similarly creates a likelihood of confusion or of misunderstanding among

the public.

       Answer: To the extent the allegations of this paragraph purport to state a legal

conclusion, no response is required. To the extent a response is deemed required, GTI denies the

remaining allegations of this paragraph.

       111.     Defendants, by their acts alleged previously, have engaged, and are engaging in

deceptive trade practice in the course of their business by causing a likelihood of confusion or of

misunderstanding as to the source, sponsorship, approval, or certification of goods or services;

causing a likelihood of confusion or of misunderstanding as to affiliation, connection, or



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association with or certification by Edible; and engaging in other conduct which similarly creates

a likelihood of confusion or of misunderstanding in violation of the Illinois Uniform Deceptive

Trade Practices Act.

       Answer: Denied.

       112.    The foregoing acts of Defendants constitute willful violations of the Illinois

Uniform Deceptive Trade Practices Act.

       Answer: Denied.

       113.    Edible has been damaged and is likely to be damaged further by Defendants’

deceptive trade practices, has no adequate remedy at law, will continue to suffer irreparable harm

due to Defendants’ activities, and Edible is therefore entitled to the grant of a permanent

injunction against Defendants under the principles of equity and on terms that the Court

considers reasonable.

       Answer: Denied.

       114.    Edible is entitled to its costs and a discretionary award of attorney’s fees due to

Defendants’ willful engagement in trade practices knowing them to be deceptive.

       Answer: Denied.

                                  AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

       The Complaint fails to state a claim upon which relief may be granted.

                             SECOND AFFIRMATIVE DEFENSE

       Plaintiffs’ claims are barred by the statutory fair use defense in Section 33(b)(3) of the

Lanham Act, 15 U.S.C. § 1115(b)(3), because GTI only uses the word “edibles” “otherwise

than as a mark” and in a manner “which is descriptive of and used fairly and in good faith to



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describe only to describe the goods or services of” GTI.

                              THIRD AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the doctrine of equitable estoppel

based on Plaintiffs’ actions, including years of knowing silence and inaction as to countless third

parties using “edibles” in the same or similar manner as GTI, including in the cannabis industry,

which is conduct that prejudiced GTI and upon which GTI relied to its detriment.

                             FOURTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by the doctrine of laches.

                               FIFTH AFFIRMATIVE DEFENSE

        Plaintiffs’ claims are barred, in whole or in part, by Plaintiffs’ unclean hands based on

Plaintiffs’ assertion of trademark rights in marks that are generic or merely descriptive without

secondary meaning.

                               SIXTH AFFIRMATIVE DEFENSE

        GTI has acted in good faith at all times with respect to the allegations in the complaint

and GTI’s conduct has never been willful.

                             SEVENTH AFFIRMATIVE DEFENSE

        Plaintiffs’ purported “Edible Marks” are, and were as of the time of registration, generic

for all or some of the goods for which they are registered, and not capable of serving as a source

identifying function and not capable of functioning as a trademark.

                                   ADDITIONAL DEFENSES

        GTI reserves the right to supplement or amend this Answer, including but not limited to

the addition of further affirmative defenses, based upon further investigation and discovery in

this action.



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       GTI denies all allegations in the Complaint not expressly admitted.

                                    PRAYER FOR RELIEF

       WHEREFORE, GTI respectfully requests that this Court enter judgment in its favor:

       A.      Dismissing all claims asserted against GTI in the Complaint with prejudice;

       B.      Requiring Plaintiffs to pay the costs of this action and, to the extent authorized by

law, to reimburse GTI for its attorneys’ fees and expenses of litigation; and

       C.      Granting GTI such other and further relief as this Court deems just and proper.

                                      COUNTERCLAIMS

       Pursuant to Federal Rule of Civil Procedure 13, Defendants/Counterclaim-Plaintiffs MC

Brands, LLC and Green Thumb Industries Inc. (collectively, “GTI”) assert the following

counterclaims against Plaintiffs/Counterclaim Defendants Edible IP, LLC and Edible

Arrangements, LLC (collectively, “Edible Arrangements”).



       1.      This is an action for (a) declaratory judgment under the Declaratory Judgment Act

28 U.S.C. § 2201 et seq., to resolve an actual case or controversy between the parties as to the

validity of Edible Arrangements’ asserted trademark rights in the purported “Edible Marks,” as

described in Edible Arrangements’ Complaint, and GTI’s purported infringement of those rights,

including GTI’s statutory fair use and other defenses, (b) an injunction compelling the U.S.

Patent and Trademark Office to cancel U.S. Trademark Registration Nos. 4,319,940; 5,614,310;

and 5,513,739; (c) an injunction compelling the U.S. Patent and Trademark Office to refuse U.S.

Trademark Application Nos. 88/550,549, 88/550,564, 88/550,501, 88/550,565, 88/550,569,

88/550,579 and 88/550,573, pursuant to Section 37 of the Lanham Act, 15 U.S.C. § 1119, and

(d) state trademark infringement and unfair competition.


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                                          THE PARTIES

         2.      Counterclaim-Plaintiff MC Brands, LLC is a Colorado limited liability company

with its principal place of business in the state of Colorado and offices located at 1150 W. Custer

Place, Denver, CO 80223.

         3.      Counterclaim-Plaintiff Green Thumb Industries Inc. is a British Colombia

corporation with a principal place of business in the state of Illinois and offices located at 325 W

Huron St #700, Chicago, IL 60654.

         4.      Counterclaim-Defendant Edible IP, LLC is a Connecticut limited liability

company with its principal place of business in the state of Georgia at 980 Hammond Drive,

Atlanta, GA 30328. Edible IP, LLC’s member is Edible Brands, LLC, a Delaware limited

liability company.

         5.      Counterclaim-Defendant Edible Arrangements, LLC is a Delaware limited

liability company with its principal place of business at 980 Hammond Drive, Atlanta, GA

30328.

                                  JURISDICTION AND VENUE

         6.      This Court has jurisdiction over the subject matter of this action under Section 39

of the Lanham Act, 15 U.S.C. § 1121, and 28 U.S.C. §§ 1331 and 1338.

         7.      On information and belief, this Court has personal jurisdiction over Edible

Arrangements because Edible Arrangements regularly conducts business in this District,

including conducting business with its numerous franchisees, and otherwise has made or

established contacts within this District sufficient to permit the exercise of personal jurisdiction.

Moreover, Edible Arrangements has consented to personal jurisdiction by virtue of the filing of

its Complaint.



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       8.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events and omissions giving rise to GTI’s claims occurred in this

District, and/or 28 U.S.C. § 1391(b)(3) because Counterclaim-Defendants are subject to this

Court’s personal jurisdiction with respect to such action.

                                  FACTUAL BACKGROUND

   “Edible” or “Edibles” Are Recognized Terms In the Cannabis and CBD Industry and
                                     Marketplace

       9.      On information and belief, Edible Arrangements started selling fruit baskets in

1998 under the name Edible Arrangements. In 2000, Edible Arrangements obtained its first U.S.

Trademark Registration for “Edible Arrangements” for its fruit basket arrangements. Over the

next ten plus years, Edible Arrangements used the Edible Arrangements mark only in connection

with fresh fruit products. On information and belief, Edible Arrangements has never made

significant use of the term “Edible” as a trademark separated from the term “Arrangements.” On

further information and belief, consumers still recognize “Edible Arrangements” as “Edible

Arrangements,” despite its recent attempts to rebrand itself as “Edible.” On further information

and belief, consumers associate “Edible Arrangements” primarily with fruit baskets.

       10.     The cannabis industry has used the terms “edible” and “edibles” as the generic

term for cannabis-infused baked goods, candy, and snacks for decades. The definition of

“edible” includes “a food or drink product that is infused with marijuana and ingested as an

alternative to smoking or vaping the drug.” With the ongoing move towards legalization across

the United States, sellers of cannabis- or CBD-infused products have consistently referred to

these products as “edibles,” and “edibles” is considered to be a specific market segment of the

cannabis industry.




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           11.     An April 20, 2020 Los Angeles Times article entitled “The best edibles for

quarantine, according to SoCal dispensaries” makes common, generic use of the term “edibles”

in both the title and within the text of the articles to refer to cannabis-infused food and beverage

items. 1

           12.     A July 13, 2020 New York Times article entitled “You Know What Else Has Sold

Well During the Pandemic? Weed Edibles” makes common, generic use of the term “edibles”

throughout the article, describing the popularity of edibles during the pandemic. 2

           13.     Most significantly, the term “edibles” is commonly used by third parties as a

generic term for cannabis or CBD-infused food products. For example, Kiva Confections, a

California based cannabis company uses the term “edibles” as a category for its cannabis-infused

food products. 3




           1
             https://www.latimes.com/lifestyle/story/2020-04-20/cannabis-weed-edible-options-420-home-coronavirus
           2
             https://www.nytimes.com/2020/07/13/style/weed-edibles-pandemic.html
           3
             https://www.kivaconfections.com/


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       14.        Using “edibles” generically, Coda Signature identifies its various cannabis-

infused chocolate and gummy products under the category “edibles.” 4




       15.        Cheeba Chews, a company that specializes cannabis-infused taffy, identifies its

products as “edibles” 5




       4
           https://codasignature.com/coda-signature-edibles/#
       5
           https://hempcheebachews.com/


                                                        42
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        16.        The musician Willie Nelson sells various cannabis products under the brand

“Willie’s Reserve” and identifies his cannabis-infused food products under the category

“edibles.” 6




        17.        Leafly, the largest cannabis website in the world for rating, reviewing and selling

various cannabis products, uses the term “edibles” as a category of product comprised of

cannabis and CBD-infused food products. 7




        6
            https://williesreserve.com/products?category=Ediblesc
        7
            https://www.leafly.com/products/edibles


                                                         43
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       18.        Weedmaps, a tech company in the cannabis industry breaks its products into eight

general categories of goods, including “edibles” for cannabis and CBD-infused food items. 8




       19.        Even regulatory authorities, such as the California Department of Public Health,

use “edibles” generically as a category of products.




       8
           https://weedmaps.com/products


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       20.     As shown above in just a few select examples, the cannabis industry universally

uses the term “edibles” to describe cannabis and CBD-infused foods. This is powerful evidence

that consumers know and understand what “edibles” are, and that consumers would never

confuse the descriptive use of the term “edibles” with Edible Arrangements or cannabis-infused

edibles with fruit baskets.

       21.     In fact, the term “edibles” is so descriptive that companies in the cannabis

industry routinely use the term to refer to a category of products in their 10-K filings. (10-K for

Cannabis Sativa, Inc., Ex. A, (“Kush is engaged in the research, development and licensing of

specialized natural cannabis products, including cannabis formulas, edibles, topicals, strains,

recipes and delivery systems;” “Kush believes that unlike the other edibles of which it is aware

that take an hour or more to take effect, its lozenges will take effect in five to 15 minutes.”); 10-

K for Kaya Holdings, Inc., Ex. B (“our current medical marijuana products available to patients

at the flagship Portland facility feature…various marijuana infused tinctures and edibles

including “Kaya Candies”, “Kaya Caramels” and an assortment of cookies and cakes for patients

who do not smoke.”); 10-K for Bespoke Extracts, Inc., Ex. C (“The Company is now focused on

bringing to market a proprietary line of premium, quality, all natural CBD products in the forms

of tinctures, capsules, drops and edibles for the nutraceutical and veterinary markets.”); 10-K for

Cannabis Medical Solutions, Inc., Ex. D (“Cannabis Medical Solutions will seek to capitalize on

this presently untapped and much needed solution, while managing and leveraging its’ merchant

relationships with medical dispensaries and wellness centers as a vertical pipeline and

distribution channel for edibles and nutraceutical product lines.”); 10-K for Cannapharmarx, Inc.,

Ex. E (“The sale of edibles containing cannabis and cannabis concentrates was not initially

permitted, however, such products are expected to be legalized by the fall of 2019.”).)




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                       Plaintiffs are Attempting to Seize a Generic Term

       22.     Through its litigation against GTI, Edible Arrangements is seeking a windfall;

Edible Arrangements wants the Court to declare that Edible Arrangements’ fruit basket business

somehow gives Edible Arrangements rights in the cannabis industry.

       23.     On information and belief, Edible Arrangements’ attempt to rebrand itself as

“edible” is part of a concerted effort to lock up the use of the word “edible” in the cannabis

industry, even though Edible Arrangements knows the term “edible” is generic and has been in

use in the cannabis industry for decades.

       24.     Edible Arrangements has no rights in the term “edible” in the cannabis industry.

It has not used the term “edible” or “edibles” in the cannabis industry in interstate commerce,

and consumers in the cannabis industry do not associate “edibles” with Edible Arrangements. In

fact, Edible Arrangements presently cannot participate in the cannabis industry at all, because it

is not licensed by the proper regulatory authorities to do so. Nor can it claim trademark rights in,

or that its “reasonable scope of expansion covers,” CBD-infused edibles, because the FDA

refuses to approve such products generally.

                             The Parties Have Co-Existed For Ten Years

       25.     The parties have coexisted under the trademarks at issue in this case for 10 years,

since 2010.

       26.     In 2010, GTI’s predecessor-in-interest developed a method to create edibles with

consistent experiences for consumers, which it began selling under the trademark

“INCREDIBLES.”

       27.     Since 2010, GTI has been selling edibles under the INCREDIBLES mark in

Colorado and has grown to be one of the premier edible brands in the United States.




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       28.        During that time, GTI has expanded the geographic reach of its INCREDIBLES

branded edibles from Colorado to many other jurisdictions throughout the United States,

including Illinois, Ohio, Nevada and Massachusetts.

       29.        GTI’s edibles have received significant recognition and acclaim from the industry

and media, including:



                    •   2015 “THC Championship” – Best Tested Edible

                    •   2015 “High Times Business Summit” – Best Edible

                    •   2015 “High Times Cannabis Cup” – Best Edible

                    •   2015 “Cannabis Business Awards” – Best Edible

                    •   2016 “GQ Magazine” – Top 50 Products

                    •   2018 – “BudFest” – 2nd Place, Best THC Edible



       30.        GTI has promoted its INCREDIBLES products as “edibles” for many years in its

website 9, social media accounts and on product packaging:




       9
           https://iloveincredibles.com/edibles-edi-fication/


                                                          47
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       31.     To emphasize its groundbreaking method to create a consistent and homogenous

edibles experience, GTI’s predecessor-in-interest began using the tagline “the credible edible” in

connection with its goods.

       32.     GTI’s INCREDIBLES edibles feature cannabis- and CBD-infused chocolate bars,

gummy candies and mints.

       33.     GTI’s INCREDIBLES edibles have become well-known both within the states

that it operates and outside, and its expansion into new states has been met with significant

consumer enthusiasm.

       34.     The INCREDIBLES Mark serves as a unique identifier for GTI’s premium

edibles.

       35.     GTI has invested significantly in advertising and marketing to build the fame,

reputation and goodwill of its INCREDIBLES brand. GTI advertises through a variety of media




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and also promotes its products and services on the Internet, via its own websites and through

advertising on the websites of third parties.

       36.       GTI’s INCREDIBLES mark is distinctive of the source or origin of GTI’s edibles.

       37.       Prior to September of 2019, Edible Arrangements had not objected to GTI’s use

or registration of the INCREDIBLES mark.

       38.       Edible Arrangements has not asserted, nor is GTI aware of, any instances of

actual confusion arising out of the parties’ coexisting uses of their respective marks during the

aforementioned 10 years.

       39.       Because of the 10 years of coexistence under the respective “edibles” and

“incredibles” marks, there is no likelihood of confusion.



                                     COUNT I
       (DECLARATORY JUDGMENT, 28 U.S.C. §§ 2201-2202, RESPECTING VALIDITY AND
                                 INFRINGEMENT)

       40.       GTI realleges the material fact allegations in the preceding paragraphs as if fully

stated herein.

       41.       Edible Arrangements has alleged in this action that it owns protectable rights in

the Edible Marks and the Edible Applications, namely, U.S. Trademark App. Nos. 88/550,549,

88/550,564, 88/550,501, 88/550,565, 88/550,569, 88/550,579 and 88/550,573 and that GTI has

infringed those rights.

       42.       GTI denies that it has infringed or that its use of the term “edibles” or

“incredibles” will ever infringe or in any way violate Edible Arrangement’s rights.

       43.       The Edible Marks are not protectable in whole or in part, because they consist of a

generic term or phrase.




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        44.     Certain of the Edible Marks are not protectable in whole or in part, because they

consist of a merely descriptive term or phrase that has not acquired distinctiveness.

        45.     The GTI’s “incredibles” marks have coexisted with Edible Arrangements

purported Edible Marks for 10 years.

        46.     As they are used or intended to be used in the actual marketplace, no likelihood of

confusion exists between GTI’s use of “edibles” or “incredibles” and any of Edible

Arrangements’ purported Edible Marks.

        47.     GTI’s use of “edibles” constitutes descriptive fair use protected by the Lanham

Act.

        48.     An actual, immediate, and justiciable controversy between the parties exists over

whether Edible Arrangements has any protectable rights in the Edible Marks in connection with

CBD and cannabis related goods, and if so, whether GTI is infringing or otherwise violating

those rights.

        49.     GTI has and will continue to be damaged by the persistent uncertainty created by

Edible Arrangement’s unsubstantiated claims with respect to GTI’s legitimate use of the term

“edibles” and its “incredibles” mark.

        50.     Accordingly, GTI is entitled to a declaration by this Court that (a) Edible

Arrangements does not have any protectable rights in the Edible Marks or Edible Applications in

connection with CBD and cannabis related goods; and (b) GTI’s use of the term “edibles” and

“incredibles” does not infringe or otherwise violate Edible Arrangements’ purported rights.



                                     COUNT II
       ORDER COMPELLING THE U.S. PATENT AND TRADEMARK OFFICE TO CANCEL U.S.
                   TRADEMARK REGISTRATIONS FOR GENERICNESS

        51.     GTI realleges the material fact allegations in the preceding paragraphs as if fully


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stated herein.

       52.       U.S. Trademark Registration No. 4,319,940 for the putative word mark EDIBLE

is invalid and unenforceable because now and/or at the time of registration, the term “edible” is

and was generic, in whole or in part, as applied to the services recited in Registration No.

4,319,940 and therefore was not protectable as a trademark at the time of registration.

       53.       U.S. Trademark Registration No. 5,614,310 for the putative word mark EDIBLE

is invalid and unenforceable because now and/or at the time of registration, the term “edible” is

and was generic, in whole or in part, as applied to the services recited in Registration No.

5,614,310 and therefore was not protectable as a trademark at the time of registration.

       54.       U.S. Trademark Registration No. 5,513,739 for the putative mark EDIBLE (and

Design) is invalid and unenforceable because now and/or at the time of registration, the term

“edible” is and was generic, in whole or in part, as applied to the services recited in Registration

No. 5,513,739 and therefore was not protectable as a trademark at the time of registration.

       55.       GTI has been and continues to be injured by the existence of U.S. Trademark

Nos. 4,319,940; 5,614,310; and 5,513,739, and Edible Arrangements’ claim of exclusive rights,

as set forth in its Complaint, in the “Edible Marks.”

       56.       Because Edible Arrangements is not entitled to maintain any rights to the Edible

Marks, including those rights accompanying a federal registration, the Court should issue

appropriate orders pursuant to 15 U.S.C. § 1119 directing the Director of the USPTO to cancel

U.S. Trademark Nos. 4,319,940; 5,614,310; and 5,513,739.



                                    COUNT III
       ORDER COMPELLING THE U.S. PATENT AND TRADEMARK OFFICE TO REFUSE U.S.
                  TRADEMARK APPLICATIONS FOR GENERICNESS

       57.       U.S. Trademark Application No. 88/550,549 for the mark EDIBLE is


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unregistrable and unenforceable because the phrase “edible” is generic, as applied to the goods

recited in App. No. 88/550,549 and is therefore not protectable as a trademark.

       58.     U.S. Trademark Application No. 88/550,564 for the mark EDIBLE is

unregistrable and unenforceable because the phrase “edible” is generic, as applied to the services

recited in App. No. 88/550,564 and is therefore not protectable as a trademark.

       59.     U.S. Trademark Application No. 88/550,501 for the mark EDIBLE is

unregistrable and unenforceable because the phrase “edible” is generic, as applied to the goods

recited in App. No. 88/550,501 and is therefore not protectable as a trademark.

       60.     U.S. Trademark Application No. 88/550,565 for the mark EDIBLE CBD is

unregistrable and unenforceable because the phrase “edible cbd” is generic, as applied to the

goods recited in App. No. 88/550,565 and is therefore not protectable as a trademark.

       61.     U.S. Trademark Application No. 88/550,569 for the mark EDIBLE CBD is

unregistrable and unenforceable because the phrase “edible cbd” is generic, as applied to the

goods recited in App. No. 88/550,569 and is therefore not protectable as a trademark.

       62.     U.S. Trademark Application No. 88/550,579 for the mark EDIBLE CBD is

unregistrable and unenforceable because the phrase “edible cbd” is generic, as applied to the

services recited in App. No. 88/550,579 and is therefore not protectable as a trademark.

       63.     U.S. Trademark Application No. 88/550,573 for the mark EDIBLE CBD is

unregistrable and unenforceable because the phrase “edible cbd” is generic, as applied to the

goods recited in App. No. 88/550,573 and is therefore not protectable as a trademark.

       64.     GTI has been injured by the existence of U.S. Trademark App. Nos. 88/550,549,

88/550,564, 88/550,501, 88/550,565, 88/550,569, 88/550,579 and 88/550,573, and Edible

Arrangements’ claim of exclusive rights, as set forth in its Complaint in the Edible Marks.




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       65.     Because Edible Arrangements is not entitled to maintain any of the rights to the

Edible Marks and Edible Applications, including those rights accompanying a federal

registration, the Court should issue appropriate orders pursuant to 15 U.S.C. § 1119 directing the

Director of the USPTO to refuse the Edible Applications, U.S. Trademark App. Nos. 88/550,549,

88/550,564, 88/550,501, 88/550,565, 88/550,569, 88/550,579 and 88/550,573.



                                       PRAYER FOR RELIEF

       Wherefore, GTI prays for the following relief:

       A.      Entry of an order adjudging and declaring that

               1.     GTI’s use of the terms “edibles” and “incredibles” does not infringe any

                      Edible Arrangements marks or violate any of Edible Arrangements

                      purported rights; and

               2.     Edible Arrangements’ Edible Marks are not valid or protectable

                      trademarks;

       B.      Entry of an order directing the Director of the USPTO to cancel U.S. Trademark

Reg. Nos. 4,319,940; 5,614,310; and 5,513,739;

       C.      Entry of an order directing the Director of the USPTO to refuse U.S. Trademark

App. Nos. 88/550,549, 88/550,564, 88/550,501, 88/550,565, 88/550,569, 88/550,579 and

88/550,573;

       D.      That this Court award reasonable attorney fees, taxable costs and such other and

further relief to GTI as deemed just and lawful; and

       E.      Such other further relief to which GTI may be entitled.




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   This 31st day of December 2020.

                               Respectfully submitted,

                               /s/ Cameron Nelson

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                              CERTIFICATE OF SERVICE

I hereby certify that on December 31, 2020, I electronically transmitted the foregoing MC
BRANDS, LLC AND GREEN THUMB INDUSTRIES INC.’S ANSWER AND
COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT to the Clerk’s Office using the CM/ECF
System for filing and to the following CM/ECF registrants.

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                                             55
